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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS |

FORT WORTH DIVISION
§ :
UNITED STATES OF AMERICA §
Vv. § 4:23-CR-320-P
§
MARK RUBIN §

ORDER PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE 5()

This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal
Procedure, and is entered by the court on the first scheduled court date when both the prosecutor
and defense counsel are present.

As to the above named defendant, by this order -- issued to the prosecution and defense
counsel -- the court confirms the disclosure obligations of the prosecutor under Brady v.
Maryland, 373 U.S. 83 (1963), and its progeny, and the possible consequences of violating such
order under applicable law. Failure to do so may result in consequences such as the dismissal of

the indictment or information, dismissal of individual charges, exclusion of evidence or
witnesses, adverse jury instructions, contempt proceedings, and/or sanctions by the court.

Signed: January 17, 2024

